 Case: 1:14-cr-00287 Document #: 319 Filed: 01/09/19 Page 1 of 1 PageID #:1575

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:14−cr−00287
                                                       Honorable Charles R. Norgle Sr.
Warren N Barr III, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 9, 2019:


        MINUTE entry before the Honorable Charles R. Norgle as to Warren N Barr III:
In court hearing held on 1/9/2019. The government's response to Defendant's Motion to
Recuse and Disqualify is due at or before noon 1/14/2019. Sentencing is continued to
1/14/2019 at 1:30 p.m. Mailed notice (ewf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
